                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                KNOXVILLE DIVISION

MARY MORRIS, INDIVIDUALLY, AND                   §
AS SURVIVING SPOUSE OF DAVID                     §
MORRIS, DECEDENT; and MICHAEL                    §
HOPKINS,                                         §
                                                 §
       Plaintiffs,                               §
                                                 §
v.                                               §   CAUSE NO. _________________________
                                                 §
TENNESSEE VALLEY AUTHORITY,                      §   JURY TRIAL DEMANDED
                                                 §
       Defendant.                                §


                           PLAINTIFFS’ ORIGINAL COMPLAINT


       Plaintiff Mary Morris, Individually, and as Surviving Spouse of Davis Morris, Decedent;

and Michael Hopkins complain of Defendant Tennessee Valley Authority and would respectfully

show unto the Court as follows:

                                            I.
                                  JURISDICTION & VENUE

       1.      This action is within the jurisdiction of this Court and its civil docket pursuant to

16 U.S.C. § 831c–2(b) as the Tennessee Valley Authority is a defendant.

       2.      This is a complaint for damages arising from personal injury.

       3.      Venue is proper as a substantial part of the events or omissions giving rise to the

claim occurred in the district.

                                              II.
                                            PARTIES

       4.      Plaintiff Mary Morris is a resident of the State of Texas.



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         5.    Plaintiff Michael Hopkins is a resident of the State of Tennessee

         6.    Plaintiff Mary Morris, as the surviving spouse of David Morris, Decedent, brings

this action on behalf of the surviving wrongful death beneficiaries of Decedent, who is authorized

by statute to bring this action pursuant to Tenn. Code § 20-5-107. Plaintiff is the surviving spouse

of Decedent. In addition, a survival action is maintained pursuant to Tenn. Code § 20-5-106.

         7.    Defendant Tennessee Valley Authority is a corporation chartered by the United

States Congress and doing continuous and substantial business within the district. Defendant

Tennessee Valley Authority is headquartered within the District. Defendant Tennessee Valley

Authority may be served by and through: its registered agent for service of process, Matthew

Falkner, at 400 West Summit Hill Dr., Knoxville, Tennessee 37902; the U.S. Attorney General;

and the U.S. Attorney for the Eastern District of Tennessee.

                                          III.
                                 NATURE OF THIS ACTION

         8.    Plaintiff Mary Morris is the surviving spouse of David Morris, Decedent.

         9.    On or about May 24, 2020, Decedent and Plaintiff Hopkins were in a personal

recreation boat on the Tennessee River near the Fort Loudon Dam.

         10.   The Tennessee River is a navigable waterway of the United States.

         11.   At all times material hereto, the Fort Loudon Dam is controlled, operated, and

maintained by Defendant TVA.

         12.   Unexpectedly, and without warning, Defendant TVA opened several dam locks

causing a rush of water.

         13.   Decedent’s and Plaintiff Hopkins’ boat was pulled into the spillway by the rush of

water.

         14.   Both Decedent and Plaintiff Hopkins were wearing life jackets at the time.

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        15.      Decedent and Plaintiff Hopkins entered the water to try and escape the rapidly

sinking boat.

        16.      Plaintiff Hopkins was ultimately rescued by bystanders.

        17.      Decedent, however, was pulled under the water and drowned.

        18.      Decedent’s body was recovered downstream by the Loudon County Rescue Dive

Team.

        19.      As a result, Plaintiff Hopkins sustained severe and lasting injuries.

        20.      Decedent’s death, and Plaintiff’s injuries, were the direct and proximate result of

the failures of Defendant TVA and/or its employees and agents.



                                              IV.
                                       CAUSES OF ACTION

A.      Wrongful Death/Negligence and Gross Negligence

        21.      Defendant TVA is liable to Plaintiffs under the theories of negligence and gross

negligence. Plaintiffs sustained injuries because of Defendant’s negligence and gross negligence

when Defendant:

             failed to properly supervise its employees and agents operating and controlling the

              dam;

             failed to properly train its employees and agents operating and controlling the dam;

             failed to sound an alarm or otherwise warn nearby individuals, including Decedent and

              Plaintiff Hopkins, that dam locks were about to be opened;

             failed to ensure that no vessels were in danger prior to opening the dam locks;

             failed to take reasonable precautions for others safety; and

             other acts so deemed negligent or grossly negligent.
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        22.    Defendant is liable for the torts committed by its employees during the course and

scope of their employment. Specifically, Defendant’s employees, acting within the course and

scope of their employment, and in furtherance of Defendant’s business, had a general duty to

exercise reasonable care in performing their work. Defendant’s employees, however, failed to

exercise the requisite standard of care under the given circumstances. As a result, Defendant is

liable for the injuries suffered by Plaintiffs and Decedent under the doctrine of respondeat

superior.

        23.    Each of the foregoing acts and omissions, singularly or in combination with others,

constituted negligence and/or gross negligence that proximately resulted in the injuries Decedent

suffered and his death and the injuries suffered by Plaintiffs.

        24.    The above referenced acts and/or omissions by Defendant constitute gross

negligence and willful or wanton conduct taken in conscious indifference to the dangers and risks

posed. Defendant’s recklessness constituted an extreme degree of risk considering the probability

and magnitude of the potential harm to others. Defendant was aware of the risk but nevertheless

proceeded with conscious disregard to the rights, safety, and welfare of others, including Decedent

and Plaintiffs. Defendant was fully aware of the dangers posed by the rapid release of water from

the dam and the importance of ensuring that individuals are not in dangerous locations and for

providing advance warning of opening the dam. The above acts and/or omissions were singularly

and cumulatively the proximate cause of the occurrence in question and the resulting injuries and

damages sustained by Decedent, and ultimately, his death as well as the injuries suffered by

Plaintiffs.




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       25.     Defendant’s acts and/or omissions described above, when viewed from the

standpoint of Defendant at the time of the acts and/or omissions, involved an extreme degree of

risk, considering the probability of harm to the Decedent, Plaintiffs, and others.

       26.     Defendant had actual, subjective awareness of the risk involved in the above

described acts and/or omissions, but nevertheless proceeded with conscious disregard of the rights,

safety, or welfare of Decedent, Plaintiffs, and others.

                                               V.
                                            DAMAGES

       27.     Plaintiff Mary Morris, individually, and as the surviving spouse of David Morris,

and Michael Hopkins, seeks all damages recoverable by law. Plaintiffs seek to recover those

benefits that the eligible wrongful death beneficiaries of Decedent might have reasonably expected

to receive from Decedent had he lived—including damages for loss of support, both monetary and

otherwise, services, nurture, training, education, and guidance, as well as all other pecuniary

damages recoverable under the Jones Act. Plaintiffs also sees to recover for the loss of society of

Decedent and seeks to recover for the broad range of mutual benefits each family would have

received from Decedent’s continued existence, including love, affection, care, attention,

companionship, comfort, and protection. Plaintiffs seek to recover the damages that the Decedent

could have instituted suit to recover, for his untimely death.

       28.     Defendant’s acts and omissions were negligent, grossly negligent, and reckless and

did proximately cause the injuries and death of Decedent and Plaintiff’s injuries. Further, said acts

and omissions are the legal cause of Decedent’s death and injuries prior to death, as set forth herein,

all of which would not have occurred but for the acts and omissions of Defendant.

       29.     Defendant’s conduct, when viewed from the standpoint of the actors at the time of

the occurrence, involved an extreme degree of risk, considering the probability and magnitude of

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the potential harm to others. Defendant’s conduct demonstrates not only an attitude of conscious

indifference to the rights, safety, and welfare of others, but also shows Defendant’s actual and

subjective awareness of the dangers of their conduct. Defendant proceeded with conscious

indifference to the rights, safety, and welfare of others, including Plaintiffs and Decedent.

Defendant is therefore liable for exemplary damages.

       30.      As a direct, legal result of the negligence, gross negligence, and reckless conduct

by Defendant as described above, Plaintiffs suffered the damages set forth in T.C.A. § 20-5-113,

including but not limited to:

             a. Physical and mental pain and suffering;

             b. Medical bills and expenses;

             c. Funeral expenses;

             d. Lost wages;

             e. Loss of earning capacity;

             f. All incidental damages, including loss of the pecuniary value of Decedent’s life;

             g. Punitive damages; and

             h. Such other and further relief as the Court may deem just and proper under

                Tennessee’s wrongful death statutes.

       WHEREFORE, Plaintiff prays that citation for Defendant TVA issue and be served upon

the parties in a form and manner prescribed by law, requiring that the parties appear and answer,

and that upon final hearing, Plaintiffs have judgment against the parties in a total sum in excess of

the minimum jurisdictional limits of this Court. Plaintiff also seeks interest on all sums found to

be owing from the date said interest accrues by law, all costs of these proceedings, and all such

other and further relief, both in law and in equity, to which Plaintiff may be justly entitled.



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                                         Respectfully submitted,

                                         LAW OFFICE OF WEIR & KESTNER,
                                         P.L.C.

                                         /s/ Phillip Gombar
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